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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
                       vs.                 )   Case No. 4:15-cr-00038-JAJ-HCA
                                           )
RONALD EDWARD BARRE, JR.,                  )
                                           )
                     Defe~dant.            )

    REPORT AND        REC~MENDATION CONCERNING PLEA OF GUILTY
                                  "­
        The United States of Am~a and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant

entered a plea ofguilty to Count 1 and Count 2 ofthe Indictment. After cautioning and examining

the Defendant under oath concerning each ofthe subjects mentioned in Rule 11, I determined that

the guilty plea was knowing and voluntary as to each count, and that the offense charged is

supported by an independent factual basis concerning each of the essential elements of such

offense. Defendant understands and agrees to be bound by the terms of the Plea Agreement. I,

therefore, recommend that the plea of guilty be accepted, that a pre-sentence investigation and

report be prepared, and that the Defendant be adjudged guilty and have sentence imposed

accordingly.



Date                                       CELESTE F. BREMER
                                           CHIEF UNITED STATES MAGISTRATE JUDGE


                                          NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
